Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 1 of 24             PageID #: 1

      ORIGINAL                                                    FILED IN THE
                                                          UNITED STl\TES DISTRICT COUiT
 JEFFERSON B. SESSIONS III                                     DISTRICT OF H/WIM

 United States Attorney General                             V)..MAY 2 4 2016
 ADAM L. BRAVERMAN
 United States Attorney
                                                         at_o'cloek and_~n.
                                                            SUE BEITIA, CLERK
                                                                             M.  f    t7V.J
 MICHAEL G. WHEAT, CBN 118598
 ERIC J. BESTE, CBN 226089
 JANAK.I S. GANDHI, CBN 272246
 COLIN M. MCDONALD, CBN 286561
 Special Attorneys to the Attorney General
 United States Attorney's Office
 880 Front Street, Room 6293
 San Diego, CA 92101
 Tel: 619-546-8437/6695/8817/9144
 Email: michael. wheat@usdoj.gov

 Attorneys for the United States

                   UNITED STATES DISTRICT COURT
                              DISTRICT OF HAWAll
                                                      CR 18-00068-JMS-RLP
                                             Case No l 7CR0582-JMS-RLP
  UNITED STATES OF AMERICA,
                                             SECOND SU P ERSEDING
                        Plaintiff,           INDI CTMEN T
             V.
                                             Title 18, U.S.C., Section 1344 - Bank
 KATHERINE P. KEALOHA (1),                   Fraud; Title 18, U.S.C., Section 1028A -
  aka Katherine E. Kealoha,                  Aggravated Identity Theft; T itle 18,
  aka Kathy Kealoha,                         U.S.C., Section 1512(c) - Obstruction of
  aka Kat,                                   Official Proceeding; Title 18, U.S.C.,
  aka Alison Lee Wong, and                   Section 982(a)(2)(A) - Criminal
 LOUIS M. KEALOHA (2),                       Forfeiture.

                        Defendants.
-·.
 -    Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 2 of 24           PageID #: 2




       The Grand Jury charges, at all times material:

                               INTRODUCTORY ALLEGATIONS

              1.      Defendant KATHERINE P. KEALOHA (1) ("K. KEALOHA") was an

       attorney licensed to practice in the State of Hawaii.          From 1993 to 2001,

       K. KEALOHA worked in the Department of the Prosecuting Attorney ("DPA") for

       the City and County of Honolulu, first as an intern, and later as a Deputy Prosecuting

       Attorney. From 2001 to 2006, K. KEALOHA was a solo practitioner in Honolulu,

       practicing criminal defense, personal injury, and family law.               In 2006,

       K. KEALOHA returned to work as a Deputy Prosecuting Attorney for the DPA. In

       2008, she was appointed the Director of the Office of Environmental and Quality

       Control forthe State of Hawaii. In 2010, K. KEALOHA again returned to the DPA

       as a Deputy Prosecuting Attorney, ultimately becoming a supervisor in the office.

             2.       Defendant LOUIS M. KEALOHA (2) ("L. KEALOHA"), the husband

       of K. KEALOHA, was an officer in the Honolulu Police Department ("HPD") for

       over 30 years. L. KEALOHA had an undergraduate degree in criminal justice and

       business administration, a graduate degree in criminal justice, and a doctorate degree

       in education from the University of Southern California. Between November 2009

       and January 2017, L. KEALOHA served as HPD's Chief of Police.

                      Financial Accounts .o f K. KEALOHA and L. KEALOHA

             3.      Between 2004 and 2017, defendants K. KEALOHA and L. KEALOHA

       ~pened     and controlled over thirty separate bank accounts at various financial

                                                 2
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 3 of 24            PageID #: 3




 institutions located in the State of Hawaii. Among the banks and credit unions used

 by defendants L. KEALOHA and K. KEALOHA to hold and move money were

 Aloha Pacific Credit Union ("APCU"), American Savings Bank ("ASB"), Bank of

 Hawaii ("BOH"), First Hawaiian Bank ("FHB"), Hawaii Law Enforcement Credit

 Union ("HLECU"), Hawaii Central Federal Credit Union ("HCFCU"), Hawaii State

 Federal Credit Union (''HSFCU"), and Hawaii USA Federal Credit Union

 ("HUSAFCU''), each of which qualified as a "financial institution" pursuant to Title

 18, United States Code, Section 20.

                           Misappropriation of Trust Funds

       4.     In or about 2004, while employed as a private attorney, K. KEALOHA

 was appointed by the Hawaii state court as "Guardian of the Property" for two minor

 children: Ransen Taito (charged elsewhere), then age 12; and A.T ., then age 10. The

 state court further ordered K. KEALOHA to create individual trust accounts for

 Ransen Taito and A.T., and to deposit over $167,000 to be held in trust for their

 benefit. Pursuant to a state court order, all disbursements and transactions associated

 with these trust accounts were to be approved by both K. KEALOHA and her co-

 counsel in the state court guardianship case ("Attorney I").

       5.     In or about May 2004, K. KEALOHA opened two separate trust

 accounts for Ransen Taito and A.T. ("the Trust Accounts"), each containing over

 $83,884 in trust proceeds, but (in contravention of the Hawaii state court order)

 identified only herself as the trustee and authorized signatory on the Trust Accounts.

                                           3
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 4 of 24       PageID #: 4




       6.    Between May 2004 and February 2012, without notice to or approval

 from Ransen Taito, A.T., or Attorney 1, K. KEALOHA used almost all the funds in

 the Trust Accounts to pay the personal expenses of L. KEALOHA and K.

 KEALOHA, including:

             a.    On or about January 4, 2008, K. KEALOI:IA pledged one of the

       Trust Accounts as collateral for a $50,000 personal loan to K. KEALOHA

       from ASB ("ASB x3126");

             b.    On or about March 1, 2008, K. KEALOHA pledged one of the

       Trust Accounts as collateral for a $38,500 personal loan to K. KEALOHA

       from ASB ("ASB x3296");

             c.    On or about January 12, 2009, K. KEALOHA withdrew $4,500

       in cash from a Trust Account;

             d.    On or about March 19-20, 2009, K. KEALOHA pledged one of

       the Trust Accounts as collateral for a $55,082 personal loan from ASB ("ASB

       x5383"), and used a cashier's check to transfer $20,000 from ASB x5383 to

       pay for L. KEALOHA and K. KEALOHA's personal expenses;

             e.    On or about March 31, 2009, K. KEALOHA withdrew $3,300 in

       cash from a Trust Account;

             f.    On or about May 18, 2009, K. KEALOHA transferred $5,200

       from a Trust Account to pay for L. KEALOHA and K. KEALOHA' s personal

       expenses, including their home mortgage payment;

                                        4
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 5 of 24        PageID #: 5




             g.    On or about May 18, 2009, K. KEALOHA withdrew $900 in

       cash from a Trust Account;

             h.    On or about May 18, 2009, K. KEALOHA caused an online

       transfer of $1,000 from a Trust Account to pay for personal expenses;

             1.    On or about June 22, 2009, K. KEALOHA transferred $6,500

       from a Trust Account to pay for L. KEALOHA and K. KEALOHA' s personal

       expenses, including their mortgage payment;

             J.    On or about June 26, 2009, K. KEALOHA withdrew $2,000 in

       cash from a Trust Account;

             k.    On or about June 26, 2009, K. KEALOHA transferred $4,000

       from a Trust Account to pay for L. KEALOHA and K. KEALOHA's personal

       expenses;

             1.    On or about August 5, 2009, K. KEALOHA withdrew $1,100 in

       cash from a Trust Account;

             m.    On or about March 19, 2010, K. KEALOHA used all the

      remammg funds in a Trust Account - over $55,000 - to pay off the

       outstanding loan balance on ASB x5383;

             n.    On or about May 17, 2010, K. KEALOHA transferred $1,000

       from a Trust Account to pay for L. KEALOHA and K. KEALOHA's personal

      expenses;



                                         5
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 6 of 24          PageID #: 6




             o.     On or about July 12, 2010, K. KEALOHA transferred $2,440

       from a Trust Account to pay for L. KEALOHA and K. KEALOHA's personal

       expenses, including the cost of refinancing their home;

             p.     On or about January 21, 2011, K. KEALOHA transferred $203

       from a Trust Account to pay for overdraft charges on L. KEALOHA and

       K. KEALOHA's personal bank account; and

             q.     On or about January 4, 2012, K. KEALOHA used all the

       remammg funds in a Trust Account - over $49,000 - to pay off the

       outstanding loan balance on ASB x3126.

       7.    On numerous occasions between 2010 and 2012, K. KEALOHA

 provided false and misleading information to Attorney 1 and the Hawaii state court

 about the Trust Accounts, and concealed the fact that K. KEALOHA and

 L. KEALOHA had misappropriated almost $150,000 from the Trust Accounts. For

 example:

             a.     On or about August 10, 2010, K. KEALOHA prepared a court

       pleading falsely representing that prior to his eighteenth birthday, Ransen

       Taito controlled his Trust Account and had received all the funds held in that

       account. K. KEALOHA fraudulently caused Ransen Taito to sign this false

       document, caused the forged signature of an alleged witness to be added, and

       filed the document and certain fraudulent exhibits with the Hawaii state court.



                                          6
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 7 of 24         PageID #: 7




             b.       On August 2-3, 2011, K. KEALOHA sent emails to her alias,

       "Alison Lee Wong," which she then forwarded to Attorney l's law firm, in

       order to make it appear that K. KEALOHA was actively working towards

       closing Ransen Taito's and A.T. 's guardianships.

             c.       On August 7, 2011, K. KEALOHA sent an email to Attorney l's

       law firm claiming that "Alison" had "put together the final accounting [for

       Ransen Taito]" and had called Ransen Taito regarding signing the necessary

       documents to finalize Ransen Taito' s account.

             d.       On or about August 12, 2011, K. KEALOHA fraudulently

       convinced Ransen Taito to sign another pleading falsely claiming that Ransen

       Taito had received all of the funds in his Trust Account, and filed this false

       document with the Hawaii state court.

             e.       On or about September 26, 2011, K. KEALOHA sent an email

       to Attorney l's law firm, claiming she "plan[ned] on meeting with Alison [Lee

       Wong]" in several days to "go over the documents that [Ransen Taito]

       dropped off."

             f.       On or about October 26, 2011, using the alias "Alison Lee

       Wong," K. KEALOHA sent a fraudulent email to Attorney l's law firm

       regarding closing out Ransen Taito and A.T. 's guardianships, and falsely

       represented that Alison Lee Wong was ."making sure all necessary documents

       are signed."

                                          7
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 8 of 24       PageID #: 8




              g.    On or about May 10, 2012, K. KEALOHA fraudulently induced

       Ransen Taito to sign a "Statement of Ransen Taito" that she created, which

       falsely stated that Ransen Taito had received over $83,884.91 from his Trust

       Account by the time he turned eighteen.

             h.     On or about June 28, 2012, K. KEALOHA sent the false

       "Statement of Ransen Taito" to Attorney 1 in response to Attorney l's

       persistent inquiries into K. KEALOHA's resolution of the guardianship case

       when Ransen Taito turned eighteen.

                                       Count 1

                           Bank Fraud (18 U.S.C. § 1344)

       8.    The grand jury realleges and incorporates by reference Introductory

 Allegations I through 7 of this Indictment.

       9.    Beginning no later than December 2007, and continuing through

 January 2012, within the District of Hawaii, defendants KATHERINE P.

 KEALOHA, aka Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee

 Wong, and LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a

 material scheme to defraud ASB and to obtain money and funds owned by and under

 the custody and control of ASB by means of materially false and fraudulent

 pretenses, representations and promises.




                                            8
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 9 of 24          PageID #: 9




       10.    It was part of the scheme that K. KEALOHA would apply to ASB for

 a "Savings Secured Loan" in the amount of $50,000 by fraudulently pledging as

 collateral the Trust Account owned by Ransen Taito.

       11 .   It was further part of the scheme that K. KEALOHA would falsely

 represent to ASB that the loan proceeds would be used to pay for "home

 improvement/tuition."

       12.    It was further part of the scheme that K. KEALOHA and L. KEALOHA

 would use ASB's loan proceeds to pay for expenses other than the home

 improvement and tuition needs of Ransen Taito.

       13.    It was further part of the scheme that when the Savings Secured Loan

 came due, K. KEALOHA would cause Ransen Taito's Trust Account to be

 liquidated and $49,580.99 of Ransen Taito's money to be used to repay ASB for

 K. KEALOHA's loan.

                               Execution of the Scheme

       14.    On or about January 4, 2008, within the District of Hawaii,

 L. KEALOHA and K. KEALOHA knowingly executed the scheme by falsely

 certifying to ASB that K. KEALOHA owned the funds in the Trust Account and was

 authorized to pledge the Trust Account as collateral for the loan.

       All in violation of Title 18, United States Code, Section 1344(1) and (2).




                                           9
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 10 of 24         PageID #: 10




                                        Count 2

                            Bank Fraud (18 U.S.C. § 1344)

        15.   The grand jury realleges and incorporates by reference Introductory

  Allegations 1 through 7 of this Indictment.

        16.   Beginning no later than March 2009, and continuing through March

  2010, within the District of Hawaii, defendants KATHERINE P. KEALOHA, aka

  Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee Wong, and

  LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a material

  scheme to defraud ASB and to obtain money and funds owned by and under the

  custody and control of ASB by means of materially false and fraudulent pretenses,

  representations and promises.

        17.    It was part of the scheme that K. KEALOHA would apply to ASB for

 · a "Savings Secured Loan" in the amount of $55,082.22 by fraudulently pledging as

  collateral the Trust Account owned by A.T.

        18.   It was further part of the scheme that K. KEALOHA would falsely

  represent to ASB that the loan proceeds would be used for "kid[']s expenses."

        19.   It was further part ofthe scheme that K. KEALOHA and L. KEALOHA

  would use ASB 's loan proceeds to pay for expenses other than those incurred for the

  benefit of A.T., including the repayment of an earlier Savings Secured Loan that

  K. KEALOHA had procured using A.T. 's Trust Account.



                                          10
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 11 of 24           PageID #: 11




        20.    It was further part of the scheme that K. KEALOHA would transfer

  $12,000 from this Savings Secured Loan into another bank account, and would use

  those funds to pay for the personal expenses of K. KEALOHA and L. KEALOHA,

  including an $8,000 credit card payment, a $6,247.77 mortgage payment, private

  school tuition payment for their child, property taxes and other real estate expenses.

        21.    It was further part of the scheme that when the Savings Secured Loan

  came due, K. KEALOHA would cause A.T.'s Trust Account to be liquidated and

  $55,194.20 of A.T.'s money to be used to repay ASB for K. KEALOHA's loan.

                                Execution of the Scheme

        22.    On or about March 19, 2009, within the District of Hawaii,

  L. KEALOHA and K. KEALOHA knowingly executed the scheme by falsely

  certifying to ASB that K. KEALOHA owned the funds in the Trust Account and was

  authorized to pledge the Trust Account as collateral for the loan.

        All in violation of Title 18, United States Code, Section 1344(1) and (2).

                                        Count 3

                            Bank Fraud (18 U.S.C. § 1344)

        23.    The grand jury   realleg~s   and incorporates by reference Introductory

  Allegations 1 through 7 of this Indictment.

        24.    Beginning no later than March 2010, and continuing through July 2010,

  within the District of Hawaii, defendants KATHERINE P. KEALOHA, aka

  Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee Wong, and

                                             11
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 12 of 24           PageID #: 12




  LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a material

  scheme to defraud HUSAFCU and to obtain money and funds owned by and under

  the custody and control of HUSAFCU by means of materially false and fraudulent

  pretenses, representations and promises.

        25.    It was part of the scheme that L. KEALOHA and K. KEALOHA would

  apply to HUSAFCU for a first loan in the amount of.$1 ,100,000 to refinance their

  mortgage on their then personal residence, and falsely certify that the information

  provided in support of their application was true and correct.

        26.    It was further part of the scheme that on or about March 31, 2010,

  L. KEALOHA and K. KEALOHA would sign and submit to HUSAFCU a loan

  application falsely claiming the two Trust Accounts as their own assets.

        27.    It was further part of the scheme that L . KEALOHA and K. KEALOHA

  would submit a letter dated March 12, 2010, falsely denying certain derogatory items

  on their credit report.

        28.    It was further part of the scheme that K. KEALOHA would submit a

  letter of explanation in June 2010, providing false material statements about the

  credit history of L. KEALOHA and K. KEALOHA

        29.    It was further part of the scheme that in or about June 2010, K .

  KEALOHA altered monthly statements for one of the Trust Accounts to make it

  appear that she owned the accounts, and forwarded those altered documents to

  HUSAFCU to support the loan application.

                                             12
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 13 of 24          PageID #: 13




        30.     It was further part of the scheme that on or about July 6, 2010, using

  the alias Alison Lee Wong, K. KEALOHA sent a fabricated email to herself at a

  different email address, and forwarded that email to her mortgage broker, in order

  to make     it appear that derogatory credit associated with K. KEALOHA was
  erroneous, and that KEALOHA's assistant, "Alison Lee Wong," was attempting to

  correct such errors.

                                Execution of the Scheme

        31.     On or about July 9, 2010, within the District of Hawaii, L. KEALOHA

  and K. KEALOHA knowingly executed the scheme by falsely certifying in a Form

  1003 loan application that they personally owned the assets in one of the Trust

  Accounts, when in fact K. KEALOHA was merely a trustee on the Trust Account

  and the true owner was Ransen Taito.

        All in violation of Title 18, United States Code, Section 1344(1) and (2).

                                         Count4

                             Bank Fraud (18 U.S.C. § 1344)

        32.     The grand jury realleges and incorporates by reference Introductory

  Allegations 1 through 7 of this Indictment.

        33;     Beginning no later than June 2012, and continuing through July 24,

  2012, within the District of Hawaii, defendants KATHERINE P. KEALOHA, aka

  Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee Wong, and

  LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a material

                                           13
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 14 of 24          PageID #: 14




  scheme to defraud HCFCU and to obtain money and funds owned by and under the

  custody and control of HCFCU by means of materially false and fraudulent

  pretenses, representations and promises.

        34.    It was part of the scheme that L. KEALOHA and K. KEALOHA would

  apply to HCFCU for a second mortgage on their then personal residence in the

  amount of $150,000, and falsely certify that the information provided in support of

  their application was true and correct.

        35.    It was further part of the scheme that in or about June 2012,

  K. KEALOHA would submit a forged "Hawaii Residential Lease Agreement" to

  HCFCU to give the false impression that L. KEAHLOA and K. KEALOHA received

  rental income every month.

                                Execution of the Scheme

        36.    On or about July 24, 2012, within the District of Hawaii,

  K. KEALOHA and L. KEALOHA knowingly executed the scheme by falsely

  certifying in a Form 1003 loan application that they received over $2,700 per month

  in rental income, when in fact no such lease agreement existed and the defendants

  did not receive such rent or lease payments.

        All in violation of Title 18, United States Code, Section 1344(1) and (2).

  II

  II

  II

                                             14
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 15 of 24           PageID #: 15




                                         Count 5

                             Bank Fraud (18 U.S.C. § 1344)

        37.      The grand jury realleges and incorporates by reference Introductory

  Allegations 1 through 7 of this Indictment.

        38.      In or about March 2013, within the District of Hawaii, defendants

  KATHERINE P. KEALOHA, aka Katherine E. Kealoha, aka Kathy Kealoha, aka

  Kat, aka Alison Lee Wong, and LOUIS M. KEALOHA knowingly devised, with the

  intent to defraud, a material scheme to defraud HCFCU and to obtain money and

  funds owned by and under the custody and control of HCFCU by means of

  materially false and fraudulent pretenses, representations and promises.

        39.      It was part of the scheme that L. KEALOHA and K. KEALOHA would

  apply to HCFCU for a home equity line of credit on their then personal residence in

  the amount of $180,000, and falsely certify that the information provided in support

  of their application was true and correct.

        40.      It was further part of the scheme that L. KEALOHA and

  K. KEALOHA would sign a Form 1003 loan application in support of the loan

  application.

        41.      It was further part of the scheme that in or about June 2012,

  K. KEALOHA would submit a forged "Hawaii Residential Lease Agreement" to

  HCFCU to give the false impression that K. KEAHLOA and L. KEALOHA received



                                               15
    Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 16 of 24          PageID #: 16




      rental income every month, when in fact no such lease agreement existed and the

      defendants did not receive such rent or lease payments.

            42.    It was further part of the scheme that K. KEALOHA and L. KEALOHA

I     would falsely claim to HCFCU that derogatory information on their credit reports

      did not belong to them, and would provide false explanations for why derogatory

      items appeared on their credit reports.

                                    Execution of the Scheme

            43.    In or about March 2013, within the District of Hawaii, K. KEALOHA

      and L. KEALOHA knowingly executed the scheme by submitting a forged HPD

      police report, purportedly signed by HPD officer C.P.M. on March 30, 2009, and

      claiming that the defendants were the victims of identity theft, in an attempt to

      explain derogatory information on their credit reports.

            All in violation of Title 18, United States Code, Section 1344(1) and (2).

                                            Count 6

                                Bank Fraud (18 U.S.C. § 1344)

            44.    The grand jury realleges and incorporates by reference Introductory

      Allegations 1 through 7 of this Indictment.

            45.    Beginning in or about June 2013, and continuing until August 30, 2013,

      within the District of Hawaii, defendants KATHERINE P. KEALOHA, aka

      Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee Wong, and

      LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a material

                                                16
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 17 of 24          PageID #: 17




  scheme to defraud HCFCU and to obtain money and funds owned by and under the

  custody and control of HCFCU by means of materially false and fraudulent

  pretenses, representations and promises.

        46.    It was part of the scheme that L. KEALOHA and K. KEALOHA would

  apply to HCFCU for a $980,000 mortgage loan to purchase a home, and falsely

  certify that the information provided in support of their application was true and

  correct.

        4 7.   It was further part ofthe scheme that L . KEALOHA and K . KEALOHA

  would submit to HCFCU letters of explanation dated March 12, 2010, and July 12,

  2012, falsely representing that certain derogatory credit did not belong to them.

                               Execution of the Scheme

        48.    In or about August 2013, within the District of Hawaii, K. KEALOHA

  and L. KEALOHA knowingly executed the scheme by submitting a forged HPD

  police report, purportedly signed by HPD officer C.P.M. on March 30, 2009, and

  claiming that the defendants were the victims of identity theft, in an attempt to

  explain derogatory information on their credit reports.

        All in violation of Title 18, United States Code, Section 1344(1) and (2).

                                        Count 7

                            Bank Fraud (18 U.S.C. § 1344)

        49.    The grand jury realleges and incorporates by reference Introductory

  Allegations 1 through 7 of this Indictment.

                                             17
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 18 of 24           PageID #: 18




        50.      Beginning in or about May 2014, and continuing until July 11 , 2014,

  within the District of Hawaii, defendants KATHERINE P. KEALOHA, aka

  Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee Wong, and

  LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a material

  scheme to defraud HCFCU and to obtain money and funds owned by and under the

  custody and control of HCFCU by means of materially false and fraudulent

  pretenses, representations and promises.

        51.      It was part of the scheme that L. KEALOHA and K. KEALOHA would

  apply to HCFCU for a $90,000 home equity loan for "debt consolidation", and

  falsely certify that the information provided in support of their application was true

  and correct.

        52.      It was further part ofthe scheme that L. KEALOHA and K. KEALOHA

  would submit to HCFCU a letter of explanation dated July 12, 2012, falsely

  representing that certain derogatory credit accounts did not belong to them.

                                Execution of the Scheme

        53.      In or about July 2014, within the District ofHawaii, K. KEALOHA and

  L. KEALOHA knowingly executed the scheme by submitting a forged HPD police

  report, purportedly signed by HPD officer C.P.M. on March 30, 2009, and claiming

  that the defendants were the victims of identity theft, in an attempt to explain

  derogatory information on their credit reports.

        All in violation ofTitle 18, United States Code, Section 1344(1) and (2).

                                             18
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 19 of 24           PageID #: 19




                                        Count 8

                            Bank Fraud (18 U.S.C. § 1344)

        54.    The grand jury realleges and incorporates by reference Introductory

  Allegations 1 through 7 of this Indictment.

        55.    Beginning in or about June 2016, and continuing until September 12,

  2016, within the District of Hawaii, defendants KATHERINE P. KEALOHA, aka

  Katherine E. Kealoha, aka Kathy Kealoha, aka Kat, aka Alison Lee Wong, and

  LOUIS M. KEALOHA knowingly devised, with the intent to defraud, a material

  scheme to defraud HCFCU and to obtain money and funds owned by and under the

  custody and control of HCFCU by means of materially false and fraudulent

  pretenses, representations and promises.

        56.    It was part of the scheme that L. KEALOHA and K. KEALOHA would

  apply to HCFCU for a $1,040,000 refinancing of their mortgage and "cash out" of

  approximately $32,000, and a $172,500 home equity line on an investment property.

        57.    It was further part of the scheme that K. KEALOHA would sign and

  provide a letter of explanation, dated August 5, 2016, falsely claiming that different

  handwriting appeared in the loan application because K. KEALOHA had "serious

  health issues which have affected [her] vision and handwriting."

        58.    It was further part of the scheme that L. KEALOHA and K. KEALOHA

  would submit a forged HPD police report, purportedly signed by HPD officer C.P.M.



                                             19
•.   Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 20 of 24          PageID #: 20




       on March 30, 2009, in an attempt to claim that the defendants were the victims of

       identity theft and explain away their poor credit history.

                                        Execution of Scheme

             59.    In or about July 2016, within the District of Hawaii, K. KEALOHA and

       L. KEALOHA knowingly executed the scheme by submitting a letter of explanation

       that falsely denied certain derogatory items on their credit report, and falsely

       disavowed certain credit accounts that belonged to them.

             All in violation ofTitle 18, United States Code, Section 1344(1) and (2).

                                            Counts 9-12

                          Aggravated Identity Theft (18 U.S.C. § 1028A)

             60.    The   gra~d   jury realleges and incorporates by reference Introductory

       Allegations 1 through 7 of this Indictment.

             61.    On or about the dates set forth below, within the District of Hawaii,

       defendant KATHERINE P. KEALOHA (1), aka Katherine E. Kealoha, aka Kathy

       Kealoha, aka Kat, aka Alison Lee Wong, did knowingly use without lawful authority

       a means of identification of another person during and in relation to a felony

       violation enumerated in 18 U.S.C. § 1028A(c) - that is, Bank Fraud in violation of

       Title 18, United States Code, Section 1344 - knowing that the means of

       identification belonged to another actual person:




                                                 20
     Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 21 of 24           PageID #: 21
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        Count      Date          Means of Identification    Felony Violation Alleged In

        9          March 2013  C.P .M. 's name, that     is, Count 5
                               the forged signature      of
                               C.P.M.
        10         August 2013 C.P.M. 's name, that      is, Count 6
                               the forged signature      of
                               C.P.M.
        11         July 2014   C.P .M. 's name, that     is, Count 7
                               the forged signature      of
                               C.P.M.
        12         July 2016   C.P .M. 's name, that     is, Count 8
                               the forged signature      of
                               C.P.M.


             All in violation of Title 18, United States Code, Section 1028A.

                                          Counts 13-14
                    Obstruction of Official Proceeding (18 U.S.C. § 1512(c)(2))

             62.     The grand jury realleges and incorporates by reference Introductory

       Allegations 1 through 7 of this Indictment.

             63.     Between November 19, 2015 and October 2017, a Federal grand jury

       in the District of Hawaii was conducting a proceeding to determine whether

       violations of federal law had been committed by KATHERINE P. KEALOHA and

       others. Among the avenues of investigation being pursued by the grand jury was

       whether KATHERINE P. KEALOHA had misappropriated the funds in the Trust

       Account that were owned by Ransen Taito and A.T.




                                               21
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 22 of 24           PageID #: 22




        64.    On or about the dates set forth below, in the District of Hawaii,

  defendant KATHERINE P. KEALOHA did corruptly attempt to obstruct, influence,

  and impede an official proceeding - that is, the Federal grand jury:

   Count Date           Act
   13    April 21, 2016 K. KEALOHA caused Ransen Taito and A.T. to testify
                        falsely before the Federal grand jury concerning the Trust
                        Accounts
   14    May 3, 2016    K. KEALOHA sent an email attaching false and
                        misleading documents she had caused Ransen Taito and
                        A.T. to sign, intending that these documents would be
                        provided to the Federal grand jury


        All in violation of Title 18, United States .Code, Section 1512(c)(2).




                                           22
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 23 of 24              PageID #: 23




                                  Forfeiture Allegations

        65.    The allegations contained in paragraphs 1 through 7 of the Introductory

  Allegations, and Counts 1 through 14 of this Indictment, are realleged and

  incorporated by reference for the purpose of alleging forfeiture to the United States

  pursuant to Title 18, United States Code, Section 982(a)(2)(A).

        66.    Upon conviction of the offenses in violation of Title 18, United States

  Code, Section 1344, set forth in Counts 1 through 8 of this Indictment, defendants

  KATHERINE P. KEALOHA, aka Katherine E. Kealoha, aka Kathy Kealoha, aka

  Kat, aka Alison Lee Wong, and LOUIS M. KEALOHA shall forfeit to the United

  States of America, pursuant to Title 18, United States Code, Section 982(a)(2)(A),

  any property constituting, or derived from, proceeds obtained, directly or indirectly,

  as a result of such violations. The property to be forfeited includes, but is not limited

  to, the following:

               a.      The total amount of proceeds obtained directly or indirectly as a

        result of the offenses;

               b.      All of that certain parcel of land situated at Maunalua, Honolulu,

        City and County of Honolulu, State of Hawaii, being LOT 84 of the "LUNA-

        KAI MARINA, UNIT 9-A," as shown on File Plan No. 1116, filed in the

        Bureau of Conveyances of the State of Hawaii, and containing an area of

        7,508 square feet, more or less; and



                                             23
Case 1:18-cr-00068-JMS-RLP Document 1 Filed 05/30/18 Page 24 of 24                                 PageID #: 24




                                    c.    A Rolex Two-Tone Submariner Watch with Blue Dial Large

                   Karat Gold, Serial Number V864527.

                   67.              If any of the property described above, as a result of any act or omission

  of the defendants (a) cannot be located upon the exercise of due diligence; (b) has

  been transferred or sold to, or deposited with, a third party; (c) has been placed

  beyond the jurisdiction of the court; (d) has been substantially diminished in value;

  or ( e) has been commingled with other property which cannot be divided without

  difficulty, the United States of America shall be entitled to forfeiture of substitute

  property pursuant to Title 21, United States Code, Section 853(p), as incorporated

  by Title 18, United States Code, Section 982(b)(1) and Title 28, United States Code,

  Section 2461 (c ).

                   All pursuant to 18 U.S.C. § 982(a)(2)(A) and 28 U.S.C. § 2461(c).

                   Dated: Honolulu, Hawaii, May 24, 2018.

                                                                     A TRUE BILL

                                                                     Isl Foreperson
                                                                     FOREPERSON, GRAND JURY
  JEFFERSON B. SESSIONS III
  United States Attorney General
  ADAM L. BRAVERMAN



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              G. WHEAT, CBN 118598
     C J. BESTE, CBN 226089
  JANAK! S. GANDHI, CBN 272246
  COLIN M. MCDONALD, CBN 286561
  Special Attorneys to the Attorney General

                                                                24
